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                  Exhibit MP11
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                                            United States Patent and Trademark Office (USPTO)
                                      Office Action (Official Letter) About Applicant’s Trademark Application


                                                             U.S. Application
                                                             Serial No.
                                                             79299249

                                                             Mark:

                                                             Correspondence
                                                             Address:
                                                             STOBBS
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                                                             UNITED
                                                             KINGDOM
                                                             Applicant:
                                                             Takeaway.com
                                                             Central Core
                                                             B.V.

                                                             Reference/Docket
                                                             No. N/A

                                                             Correspondence
                                                             Email Address:




                                                    NONFINAL OFFICE ACTION

International Registration No. 1563598

Notice of Provisional Full Refusal

Deadline for responding. The USPTO must receive applicant’s response within six months of the “date on which the notification was sent
to WIPO (mailing date)” located on the WIPO cover letter, or the U.S. application will be abandoned (see https://www.uspto.gov/trademarks-
application-process/abandoned-applications for information on abandonment). To confirm the mailing date, go to the USPTO’s Trademark
Status and Document Retrieval (TSDR) database at https://tsdr.uspto.gov/, select “US Serial, Registration, or Reference No.,” enter the U.S.
application serial number in the blank text box, and click on “Documents.” The mailing date used to calculate the response deadline is the
“Create/Mail Date” of the “IB-1rst Refusal Note.”

Respond to this Office action using the USPTO’s Trademark Electronic Application System (TEAS). A link to the appropriate TEAS response
form appears at the end of this Office action.

Discussion of provisional full refusal. This is a provisional full refusal of the request for extension of protection to the United States of the
international registration, known in the United States as a U.S. application based on Trademark Act Section 66(a). See 15 U.S.C. §§1141f(a),
1141h(c).

The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

SUMMARY OF ISSUES:
   Section 2(d) Refusal – Likelihood of Confusion
   Identification of Goods and Services Requires Amendment
   Mark Description Requirement
   Email Address Requirement
   U.S. Counsel Requirement
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SECTION 2(d) REFUSAL – LIKELIHOOD OF CONFUSION

This is a partial refusal only as indicated below

Registration of the applied-for mark is refused because of a likelihood of confusion with the marks in U.S. Registration Nos. 5241586, 5294674,
5598365, 5609448. Trademark Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registrations.

Applicant’s mark is:

      (design) for in relevant part “downloadable graphics for mobile phones; downloadable image files containing promotional material in the
      field of restaurants, online and telephone ordering and delivery of food, drink, takeaway meals, flowers, and cards; downloadable music
      files; downloadable electronic publications in the nature of brochures, menus, magazines, and catalogs in the field of restaurants, food and
      drink, takeaway meals and takeaway restaurants, electronic point of sale systems, order management, order tracking and order delivery
      systems and software, and online ordering and delivery of flowers and cards; computer software applications for mobile and hand-held
      electronic devices, namely, software for use in database management, electronic storage of data, and ordering food, drink, takeaway meals,
      flowers, and cards; electronic point of sale (epos) systems comprised of computer hardware, computer operating software for electronic
      point of sale (epos) systems; downloadable computer software to allow users to perform electronic e-commerce business transactions via a
      global computer network; downloadable computer software to allow users to receive and process purchase orders via a global computer
      network; downloadable mobile application software for ordering food, drink, flowers, cards, and takeaway meals; downloadable computer
      software applications to allow users to search, order, browse menus, rate, comment and track the delivery of restaurant and take-away
      restaurants meals online; computer software applications for processing the sale, order and delivery of customer purchase orders; computer
      software for use in navigation for and location identification of a delivery vehicle; magnetically encoded gift cards; magnetically encoded
      loyalty cards; blank memory cards and electronic chip cards intended to be purchased to be delivered as gifts to others and to allow them to
      make purchases in the credit limit or under the conditions stored in the cards; computer hardware systems and downloadable software, all
      for order management, order tracking and order delivery management; downloadable computer software for performing financial
      transactions in the nature of linking e-commerce websites to credit card processing networks” in International Class 9, “Advertising;
      business management; business administration of consumer loyalty programs; administrative processing of purchase orders; commercial
      administration of the licensing of the goods and services of others; commercial information and advice for consumers in the choice of
      products and services; compilation of information into computer databases; compiling indexes of information for commercial or
      advertising purposes; marketing research services; market intelligence services; provision of an on-line marketplace for buyers and sellers
      of goods and services; sales promotion for others; systemization of information into computer databases; updating and maintenance of data
      in computer databases; restaurant management for others; business advice relating to restaurant franchising; on-line ordering services in the
      field of restaurant take-out and delivery, flowers and cards; analysis of market research data and statistics; business consultancy services;
      provision of business and commercial information in the field of food and drink, flowers and cards, including restaurants and take-away
      restaurants; providing business and commercial information, namely, providing consumer information about restaurant listings, take-away
      restaurant particulars and menus on the Internet, flowers and cards providing business and commercial information, namely, providing an
      online commercial information directory on the Internet featuring restaurant, take away restaurant information, flowers and cards; public
      opinion polling; distribution of advertising material; providing consumer generated reviews of restaurants and take away restaurants for the
      purposes of consumer research; providing consumer information, namely, ratings and reviews of restaurants and take away restaurants, and
      compilations of ratings and reviews for restaurants and take away restaurants; procurement services, namely, purchasing food, drink,
      takeaway meals, flowers and cards; computerized online ordering services in the field of delivery of food, drink, takeaway meals,
      restaurants, flowers and cards; ordering services for third parties; the bringing together, for the benefit of others, of a variety of take-away
      restaurant and restaurant services, enabling customers to conveniently view and purchase those services online via an internet website, via
      telephone order or via a computer software application; marketing and promoting the goods and services of others by distributing coupons;
      organisation, operation and supervision of consumer loyalty and incentive schemes; administration of programs to enable customers to
      obtain discounts on services provided by restaurants and take-away restaurants; customer services, namely, responding to customer
      inquiries on behalf of others in the field of delivery of food, drink, takeaway meals, restaurants, flowers and cards; organization of
      competitions and awarding of prizes for commercial or advertising purposes; sales promotion for others; awarding of prizes for marketing
      purposes; provision of an on-line marketplace for buyers and sellers of food and drink; online and telephone retail store services relating to
      the sale of food and drink, flowers and cards; information, advisory and consultancy services relating to the aforesaid” in international
      Class 35, “access to databases on the internet, telecommunication services, namely, audiovisual communication services by computer
      terminals; electronic message delivery services; electronic order transmission services; electronic transmission of images, photographs,
      graphic images messages, data and illustrations over a global computer network and via the internet; interactive telecommunication
      services, namely, delivery of video over digital networks; providing access to e-commerce platforms on the internet; providing access to
      information via the internet; providing access to online marketing place; web messaging; providing electronic bulletin boards; providing
      online forum services in the field of food, drink, flowers and cards; transmission of consumer generated reviews online via
      telecommunications networks; transmission of consumer generated reviews for restaurants, take away restaurants, flower and card services
      online via telecommunications networks; operation of an online portal for the delivery of takeaway restaurant and restaurant meals, and for
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      other goods; web based portal to provide information for the ordering of takeaway restaurant and restaurant meals; information, advisory
      and consultancy services relating to the aforesaid” in International Class 38, “Packaging and storage of goods; coordinating travel
      arrangements for individuals and groups; delivery services, namely, delivery of flowers, cards, food, drink by restaurants; food delivery
      services; arranging the delivery of takeaway restaurant and restaurant meals, flowers and cards, and for other goods, online, including via a
      website or software application and telephone by air, road, rail and sea; arranging the delivery of goods by air, road, rail and sea;
      arrangement of transport of goods by air, road, rail and sea; packing of food; food transportation services, namely, transport of food and
      drink; refrigerated transport of food; providing transport and travel information via mobile telecommunications apparatus and devices;
      arranging the delivery of goods; advisory services relating to the transportation of goods; advisory services relating to the packing of
      goods; arrangement of transport of goods; arranging the collection of goods for the delivery of takeaway restaurant and restaurant meals,
      and for other goods, online and telephone; computerised information services relating to transport, namely, transportation information
      services; delivery of wines; delivery of water; delivery of flowers; delivery of cards; delivery of spirits; global positioning system
      navigation services; loading and unloading of goods; motor vehicle transport services; delivery services, namely, packaging of goods in
      transit; storage of goods for transportation; storage of food; transport by man-powered vehicles; vehicle routing by computer on data
      networks; information, advisory and consultancy services relating to the aforesaid” in International Class 39; “inspection of foodstuffs for
      quality control purposes; quality control relating to the hygiene of food; providing on-line, non-downloadable software on a global
      computer network for ordering and delivery of takeaway restaurant and restaurant meals and for other goods; food research; application
      service provider, namely, hosting of software for wireless communication and hosting websites on the internet for performing various
      transactions; hosting of e-commerce website platforms on the internet; application service provider (asp) services, namely, hosting
      computer software for order management, order tracking and order delivery systems and for operating electronic point of sale systems;
      application service provider (asp) services, namely, hosting computer software featuring technology that allows users to perform electronic
      business transactions via a global computer network; hosting internet website platforms for others for performing e-commerce transactions;
      provision of temporary use of online non-downloadable software tools and software platforms to facilitate electronic business transactions
      via a global computer network and to allow users to receive, process, and manage purchase orders online; providing temporary use online
      of non-downloadable software to facilitate the processing, tracking and delivery of customer purchase orders; providing temporary use
      online of non-downloadable software to facilitate communication between customer, seller and delivery vehicle; consultancy services
      related to electronic point of sale (epos) systems, namely, computer hardware and computer software systems for providing telephonic and
      on-line support to customers; consultancy services related to the setting up and operation of websites and internet portals proving
      temporary access to online non-downloadable software to facilitate the processing, tracking, and delivery of customer purchase orders” in
      International Class 42 and “Services for providing food and drink; restaurant services; bar services; catering services; canteen services;
      provision of temporary accommodation; fast food restaurants; takeaway food and drink services, namely, providing food and drink via
      bicycle, motor vehicles; providing reviews of restaurants and bars; making reservation and booking services for restaurants and meals;
      provision of restaurant and bar information relating to food and drink online and by telephone; operation of a website for the ordering of
      takeaway restaurant and restaurant meals; provision of information relating to food and drink online; serving food and drink; preparation of
      food and drink; consulting services related to corporate hospitality services relating to food and drink; providing food and drink via mobile
      transportation, mobile vans, mobile trucks, mobile vehicles; information, advisory and consultancy services relating to the aforesaid”
      International Class 43


The registrant’s marks are:

      (design) for “food and meal delivery services for at home self-preparation meals” in International Class 39
      (design) for “providing personalized meal planning of meals that are delivered to individuals' homes for at home self-preparation meals”
      in International Class 43
      HOME CHEF (and design) for “providing personalized meal planning of meals that are delivered to individuals' homes for at home self-
      preparation meals for nonprofessional cooks” in International Class 43
      HOME CHEF (and design) “food and meal delivery services for at home self-preparation meals for nonprofessional cooks” in
      International Class 39


Trademark Act Section 2(d) bars registration of an applied-for mark that is so similar to a registered mark that it is likely consumers would be
confused, mistaken, or deceived as to the commercial source of the goods and/or services of the parties. See 15 U.S.C. §1052(d). Likelihood of
confusion is determined on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 1361,
177 USPQ 563, 567 (C.C.P.A. 1973) (called the “ du Pont factors”). In re i.am.symbolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747
(Fed. Cir. 2017). Any evidence of record related to those factors need be considered; however, “not all of the DuPont factors are relevant or of
similar weight in every case.” In re Guild Mortg. Co., 912 F.3d 1376, 1379, 129 USPQ2d 1160, 1162 (Fed. Cir. 2019) (quoting In re Dixie
Rests., Inc., 105 F.3d 1405, 1406, 41 USPQ2d 1531, 1533 (Fed. Cir. 1997)).

Although not all du Pont factors may be relevant, there are generally two key considerations in any likelihood of confusion analysis: (1) the
similarities between the compared marks and (2) the relatedness of the compared goods and/or services. See In re i.am.symbolic, llc, 866 F.3d at
1322, 123 USPQ2d at 1747 (quoting Herbko Int’l, Inc. v. Kappa Books, Inc., 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002));
Federated Foods, Inc. v. Fort Howard Paper Co., 544 F.2d 1098, 1103, 192 USPQ 24, 29 (C.C.P.A. 1976) (“The fundamental inquiry mandated
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by [Section] 2(d) goes to the cumulative effect of differences in the essential characteristics of the goods [or services] and differences in the
marks.”); TMEP §1207.01.

Comparison of the Marks

Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Inn at St. John’s, LLC, 126 USPQ2d
1742, 1746 (TTAB 2018) (citing In re Davia, 110 USPQ2d 1810, 1812 (TTAB 2014)), aff’d per curiam, 777 F. App’x 516, 2019 BL 343921
(Fed. Cir. 2019); TMEP §1207.01(b).

U.S. Registration Nos. 5241586 & 5294674

When the marks at issue are both design marks, similarity of the marks is determined primarily on the basis of visual similarity. See, e.g.,
Volkswagenwerk Aktiengesellschaft v. Rose ‘Vear Enters., 592 F.2d 1180, 1183, 201 USPQ 7, 9 (C.C.P.A. 1979) (quoting In re ATV Network
Ltd., 552 F.2d 925, 929, 193 USPQ 331, 332 (C.C.P.A. 1977)); Ft. James Operating Co. v. Royal Paper Converting Inc., 83 USPQ2d 1624, 1628
(TTAB 2007); TMEP §1207.01(c). However, a side-by-side comparison is not the test. See Grandpa Pidgeon’s of Mo., Inc. v. Borgsmiller, 477
F.2d 586, 587, 177 USPQ 573, 574 (C.C.P.A. 1973). When comparing design marks, the focus is on the overall commercial impression
conveyed by such marks, not on specific differences. See Grandpa Pidgeon’s of Mo., Inc. v. Borgsmiller, 477 F.2d at 587, 177 USPQ at 574; In
re Triple R Mfg. Corp., 168 USPQ 447, 448 (TTAB 1970); TMEP §1207.01(c).

In this case, both marks are comprised of a single fork and a single knife within the inside of a house design. In addition, the positioning of the
fork and knife are both the same with both the fork and knife facing in the same direction and with the fork being on the left and the knife on the
right.

When comparing marks, “[t]he proper test is not a side-by-side comparison of the marks, but instead whether the marks are sufficiently similar in
terms of their commercial impression such that [consumers] who encounter the marks would be likely to assume a connection between the
parties.” Cai v. Diamond Hong, Inc., 901 F.3d 1367, 1373, 127 USPQ2d 1797, 1801 (Fed. Cir. 2018) (quoting Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1368, 101 USPQ2d 1713, 1721 (Fed. Cir. 2012)); TMEP §1207.01(b). The proper focus is on the recollection of
the average purchaser, who retains a general rather than specific impression of trademarks. In re Inn at St. John’s, LLC, 126 USPQ2d 1742,
1746 (TTAB 2018) (citing In re St. Helena Hosp., 774 F.3d 747, 750-51, 113 USPQ2d 1082, 1085 (Fed. Cir. 2014); Geigy Chem. Corp. v. Atlas
Chem. Indus., Inc., 438 F.2d 1005, 1007, 169 USPQ 39, 40 (C.C.P.A. 1971)), aff’d per curiam, 777 F. App’x 516, 2019 BL 343921 (Fed. Cir.
2019); TMEP §1207.01(b).

U.S. Registration Nos. 5598365 & 5609448

In this case, the designs in applicant’s mark and the marks in the cited registrations are highly similar. The design portion of the marks are both
with the fork being on the left and the knife on the right.

Although applicant’s mark does not contain the entirety of the registered mark, applicant’s mark is likely to appear to prospective purchasers as
a shortened form of registrant’s mark. See In re Mighty Leaf Tea, 601 F.3d 1342, 1348, 94 USPQ2d 1257, 1260 (Fed. Cir. 2010) (quoting United
States Shoe Corp., 229 USPQ 707, 709 (TTAB 1985)). Thus, merely omitting some of the wording from a registered mark may not overcome a
likelihood of confusion. See In re Mighty Leaf Tea, 601 F.3d 1342, 94 USPQ2d 1257; In re Optica Int’l , 196 USPQ 775, 778 (TTAB 1977);
TMEP §1207.01(b)(ii)-(iii). In this case, applicant’s mark does not create a distinct commercial impression from the registered mark because it
contains some of the wording in the registered mark and does not add any wording that would distinguish it from that mark.

Thus, applicant’s mark and the marks in the cited registrations are confusingly similar.

Comparison of the Goods and Services

The goods and/or services are compared to determine whether they are similar, commercially related, or travel in the same trade channels. See
Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1369-71, 101 USPQ2d 1713, 1722-23 (Fed. Cir. 2012); Herbko Int’l, Inc. v. Kappa
Books, Inc., 308 F.3d 1156, 1165, 64 USPQ2d 1375, 1381 (Fed. Cir. 2002); TMEP §§1207.01, 1207.01(a)(vi).

The compared goods and/or services need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v. Am.
Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1898
(Fed. Cir. 2000); TMEP §1207.01(a)(i). They need only be “related in some manner and/or if the circumstances surrounding their marketing are
such that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v.
Triumph Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715,
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1724 (TTAB 2007)); TMEP §1207.01(a)(i).

Generally, the greater degree of similarity between the applied-for mark and the registered mark, the lesser the degree of similarity between the
goods and/or services of the parties is required to support a finding of likelihood of confusion. In re C.H. Hanson Co., 116 USPQ2d 1351, 1353
(TTAB 2015) (citing In re Opus One Inc., 60 USPQ2d 1812, 1815 (TTAB 2001)); In re Thor Tech, Inc., 90 USPQ2d 1634, 1636 (TTAB 2009).

Determining likelihood of confusion is based on the description of the goods and/or services stated in the application and registration at issue, not
on extrinsic evidence of actual use. See In re Detroit Athletic Co., 903 F.3d 1297, 1307, 128 USPQ2d 1047, 1052 (Fed. Cir. 2018) (citing In re
i.am.symbolic, llc, 866 F.3d 1315, 1325, 123 USPQ2d 1744, 1749 (Fed. Cir. 2017)).

In this case, the application use(s) broad wording to describe “ delivery services, namely, delivery of flowers, cards, food, drink by restaurants;
food delivery services; arranging the delivery of takeaway restaurant and restaurant meals, flowers and cards, and for other goods, online,
including via a website or software application and telephone by air, road, rail and sea; arranging the delivery of goods by air, road, rail and sea;
arrangement of transport of goods by air, road, rail and sea; food transportation services, namely, transport of food and drink; refrigerated
transport of food; arranging the delivery of goods; arrangement of transport of goods; delivery of wines; delivery of water; delivery of spirits” ,
which presumably encompasses all goods and/or services of the type described, including the services in the cited registrations, notably,
registrant’s more narrow “ food and meal delivery services for at home self-preparation meals” and “food and meal delivery services for at
home self-preparation meals for nonprofessional cooks” services. In addition, applicant’s services, notably, “Services for providing food and
drink; providing food and drink via mobile transportation, mobile vans, mobile trucks, mobile vehicles” is broadly worded and encompasses
registrant’s “providing personalized meal planning of meals that are delivered to individuals' homes for at home self-preparation meals” and
“providing personalized meal planning of meals that are delivered to individuals' homes for at home self-preparation meals for nonprofessional
cooks” services. See, e.g., In re Solid State Design Inc., 125 USPQ2d 1409, 1412-15 (TTAB 2018); Sw. Mgmt., Inc. v. Ocinomled, Ltd., 115
USPQ2d 1007, 1025 (TTAB 2015). Thus, applicant’s and registrant’s services are legally identical. See, e.g., In re i.am.symbolic, llc, 127
USPQ2d 1627, 1629 (TTAB 2018) (citing Tuxedo Monopoly, Inc. v. Gen. Mills Fun Grp., Inc., 648 F.2d 1335, 1336, 209 USPQ 986, 988
(C.C.P.A. 1981); Inter IKEA Sys. B.V. v. Akea, LLC, 110 USPQ2d 1734, 1745 (TTAB 2014); Baseball Am. Inc. v. Powerplay Sports Ltd., 71
USPQ2d 1844, 1847 n.9 (TTAB 2004)).

Additionally, the goods and/or services of the parties have no restrictions as to nature, type, channels of trade, or classes of purchasers and are
“presumed to travel in the same channels of trade to the same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905,
1908 (Fed. Cir. 2012) (quoting Hewlett-Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62 USPQ2d 1001, 1005 (Fed. Cir. 2002)).
Thus, applicant’s and registrant’s goods and/or services are related.

In addition, please see the attached Internet evidence showing services being provided by registrant in the nature of downloadable software, non-
downloadable software and other services of similarity to applicant’s services. This evidence shows that applicant’s goods and services are
related to registrant’s services. In addition, please see the attached third party websites establishing that the same entity commonly
manufactures, produces, or provides the relevant goods and/or services and markets the goods and/or services under the same mark. Moreover
this evidence also shows that the relevant goods and/or services are sold or provided through the same trade channels and used by the same
classes of consumers in the same fields of use. Thus, applicant’s and registrant’s goods and/or services are considered related for likelihood of
confusion purposes. See, e.g., In re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re Toshiba Med. Sys. Corp., 91 USPQ2d
1266, 1268-69, 1271-72 (TTAB 2009).

In total, the marks create the same commercial impression and the evidence shows that the goods and/or services are commercially related and
likely to be encountered together in the marketplace by consumers. Upon encountering applicant’s mark and the registered marks, consumers
are likely to be confused and mistakenly believe that the respective goods and/or services emanate from a common source. Therefore,
registration must be refused based upon Trademark Act Section 2(d).

Although applicant’s mark has been refused registration, applicant may respond to the refusal(s) by submitting evidence and arguments in
support of registration.

If applicant responds to the refusal(s), applicant must also respond to the requirement(s) set forth below.


IDENTIFICATION OF GOODS AND/OR SERVICES REQUIRES AMENDMENT

The wording indicated below in the identification of goods and/or services is indefinite and too broad. This wording must be clarified because it
is not clear what the goods and/or services are and could identify goods and/or services in more than one international class. See 37 C.F.R.
§2.32(a)(6); TMEP §§1402.01, 1402.03, 1904.02(c), (c)(ii). Specifically, applicant must provide additional clarifying language as indicated
below with sufficient clarity to ensure the goods and services are properly classified.

In an application filed under Trademark Act Section 66(a), an applicant may not change the classification of goods and/or services from that
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assigned by the International Bureau of the World Intellectual Property Organization in the corresponding international registration. 37 C.F.R.
§2.85(d); TMEP §§1401.03(d), 1904.02(b). Therefore, although the goods and/or services may be classified in several international classes, any
modification to this wording must identify goods and/or services in the class(es) specified in the application for these goods and/or services. See
TMEP §1904.02(c), (c)(ii).

Applicant may adopt the following wording, if accurate (suggestions in bold):

       International Class 9: Computers; data processing apparatus; downloadable graphics for mobile phones; downloadable image files
       containing promotional material in the field of restaurants, online and telephone ordering and delivery of food, drink, takeaway meals,
       flowers, and cards; downloadable music files; downloadable electronic publications in the nature of brochures, menus, magazines, and
       catalogs in the field of restaurants, food and drink, takeaway meals and takeaway restaurants, electronic point of sale systems, order
       management, order tracking and order delivery systems and software, and online ordering and delivery of flowers and cards; food
       analysis apparatus in the nature of food safety monitoring devices, namely, thermometers not for medical purposes and alarm sensors for
       detecting bacteria in foods; interfaces for computers; computer software applications for mobile and hand-held electronic devices,
       namely, {specify e.g., downloadable} software for use in database management, electronic storage of data, and ordering food, drink,
       takeaway meals, flowers, and cards; electronic payment machines; electronic point of sale (epos) systems comprised of computer
       hardware, {specify e.g., recorded} computer operating software for electronic point of sale (epos) systems; downloadable computer
       software to allow users to perform electronic e-commerce business transactions via a global computer network; downloadable computer
       software to allow users to receive and process purchase orders via a global computer network; downloadable mobile application software
       for ordering food, drink, flowers, cards, and takeaway meals; downloadable computer software applications to allow users to search,
       order, browse menus, rate, comment and track the delivery of restaurant and take-away restaurants meals online; {specify e.g.,
       downloadable} computer software applications for processing the sale, order and delivery of customer purchase orders; {specify e.g.,
       downloadable} computer software for use in navigation for and location identification of a delivery vehicle; magnetically encoded gift
       cards; magnetically encoded gift loyalty cards; blank memory cards and blank electronic chip cards intended to be purchased to be
       delivered as gifts to others and to allow them to make purchases in the credit limit or under the conditions stored in the cards; computer
       hardware systems comprised of {specify e.g., computer hardware with embedded recorded operating system software} and
       downloadable software, all for order management, order tracking and order delivery management; downloadable computer software for
       performing financial transactions in the nature of linking e-commerce websites to credit card processing networks

       International Class 21: {specify e.g., Beverage glassware, porcelain {specify e.g., mugs} and earthenware {specify e.g. mugs and jars};
       household and kitchen utensils, namely, {specify e.g., kitchen tongs, basting spoons and serving scoops for ice cream} and containers
       for household and kitchen use; {specify e.g., disposable aluminum} foil containers for food; bottles, sold empty; heat-insulated
       containers for foodstuffs; mugs, cups, and {specify porcelain and earthenware goods e.g., cake toppers} of porcelain and earthenware;
       disposable cups; paper plates; biodegradable paper pulp-based plates, bowls and cups; drinking straws; isothermic bags, namely, {specify
       e.g., thermal insulated bags for food or beverages}; isothermic bags, namely, {thermal insulated bags} for delivering meals from
       restaurants or take away restaurants; isothermic bags, namely, {specify, e.g., thermal insulated bags} for pizzas; tableware, cookware
       and containers, namely, {specify goods by common commercial name. e.g., tea services in the nature of tableware, roasting pans
       and pots, and kitchen containers}; cookware, namely, pots and pans (pots and pans); cookware and tableware, except forks, knives
       and spoons, namely {specify goods by common commercial name, e.g., steamers}; thermal insulated bags for food or beverages;
       thermal insulated containers for food or beverage; thermal insulated tote bags for food or beverages; thermal insulated wrap for cans to
       keep the contents cold or hot; wine glasses

       International Class 25: Clothing, namely, {specify clothing items by common commercial name, e.g., t-shirts, pants, shorts, and
       sweaters} footwear, headwear; aprons; baseball hats and caps; jackets; waterproof jackets; t-shirts; shirts; trousers; waterproof trousers;
       jogging bottoms as clothing; sweatshirts; jumpers; hoodies

       International Class 35: Advertising; business management; business administration of consumer loyalty programs; administrative
       processing of purchase orders; commercial administration of the licensing of the goods and services of others; commercial information
       and advice for consumers in the choice of products and services; compilation of information into computer databases; compiling indexes
       of information for commercial or advertising purposes; marketing research services; market intelligence services; provision of an on-line
       marketplace for buyers and sellers of goods and services; sales promotion for others; systemization of information into computer
       databases; updating and maintenance of data in computer databases; restaurant management for others; business advice relating to
       restaurant franchising; on-line ordering services in the field of restaurant take-out and delivery, flowers and cards; analysis of market
       research data and statistics; business consultancy services; provision of business and commercial information in the field of food and
       drink, flowers and cards, including restaurants and take-away restaurants; providing business and commercial information, namely,
       providing consumer information about restaurant listings, take-away restaurant particulars and menus on the Internet, flowers and cards
       providing business and commercial information, namely, providing an online commercial information directory on the Internet featuring
       restaurant, take away restaurant information, flowers and cards; public opinion polling; distribution of advertising material; providing
       consumer generated reviews of restaurants and take away restaurants for the purposes of consumer research for commercial purposes;
       providing consumer information, namely, ratings and reviews of {specify, e.g., food and wine} from restaurants and take away
       restaurants, and compilations of ratings and reviews for restaurants and take away restaurants for commercial purposes; procurement
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services, namely, purchasing food, drink, takeaway meals, flowers and cards for others; computerized online ordering services in the
field of delivery of food, drink, takeaway meals, restaurants, flowers and cards; ordering services for third parties, namely, {specify
services, e.g., online ordering services in the field of restaurant take-out and delivery}; the bringing together, for the benefit of
others, of a variety of take-away restaurant and restaurant services, excluding the transport thereof enabling customers to conveniently
view and purchase those services by means of an online retail store via an internet website, via telephone order or via a computer
software application; marketing services and promoting the goods and services of others by distributing coupons; organisation, operation
and supervision of consumer loyalty and incentive schemes to promote the sale of products and services of others; administration of
programs to enable customers to obtain discounts on services provided by restaurants and take-away restaurants; customer services,
namely, responding to customer inquiries on behalf of others in the field of delivery of food, drink, takeaway meals, restaurants, flowers
and cards; organization of competitions and awarding of prizes in the nature of {specify services in International Class 35, e.g.,
arranging and conducting business competitions for entrepreneurs to compete for seed capital to facilitate business activities} for
commercial or advertising purposes; sales promotion for others; {specify services, e.g., administration of a customer loyalty program
which provides for incentive award prize programs for marketing purposes to promote the goods and services of others; provision
of an on-line marketplace for buyers and sellers of food and drink; online and telephone retail store services relating to the sale of
featuring food and drink, flowers and cards; information, advisory and consultancy services relating to the aforesaid

International Class 38: Telecommunications services, namely, providing access to the Internet for accessing content, websites and portals;
providing access to databases on the internet; telecommunication services, namely, audiovisual communication services by computer
terminals; communication by electronic computer terminals; electronic transmission message delivery services; electronic order
transmission services; electronic transmission of images, photographs, graphic images messages, data and illustrations over a global
computer network and via the internet; interactive telecommunication services, namely, delivery of video over digital networks; providing
access to the Internet for accessing e-commerce platforms on the internet; providing access to the Internet for accessing information
via the internet; providing access to the Internet for accessing an online marketing place; web messaging; providing electronic bulletin
boards; providing online forum services in the field of food, drink, flowers and cards; transmission of consumer generated reviews online
via telecommunications networks; transmission of consumer generated reviews for restaurants, take away restaurants, flower and card
services online via telecommunications networks; operation of an online portal {specify services in International Class 38, e.g.,
providing on-line communication links which transfer the website user to other local and global webpages for the delivery of
takeaway restaurant and restaurant meals, and for other goods; web based portal {specify services in International Class 38, e.g.,
providing an online forums for user to provide information for the ordering of takeaway restaurant and restaurant meals; information,
advisory and consultancy services relating to the aforesaid

International Class 39: Packaging and storage of goods; coordinating travel arrangements for individuals and groups; delivery services,
namely, delivery of flowers, cards, food, drink by restaurants; food delivery services; arranging the delivery of takeaway restaurant and
restaurant meals, flowers and cards, and for other goods, online, including via a website or software application and telephone by air,
road, rail and sea; arranging the delivery of goods by air, road, rail and sea; arrangement of transport of goods by air, road, rail and sea;
packing of food; food transportation services, namely, transport of food and drink; refrigerated transport of food; providing transport and
travel information via mobile telecommunications apparatus and devices; arranging the delivery of goods; advisory services relating to
the transportation of goods; advisory services relating to the packing of goods; arrangement of transport of goods; arranging the collection
of goods for the delivery of takeaway restaurant and restaurant meals, and for other goods, online and telephone; computerised
information services relating to transport, namely, transportation information services; delivery of wines; delivery of water; delivery of
flowers; delivery of cards; delivery of spirits; global positioning system navigation services; loading and unloading of goods; motor
vehicle transport services; delivery services, namely, packaging of goods in transit; storage of goods for transportation; storage of food;
mass transit services for the general public; transport by man-powered vehicles; vehicle routing by computer on data networks;
information, advisory and consultancy services relating to the aforesaid

International Class 42: Design and development of computer hardware and software; industrial analysis and research services, namely,
analysis of the goods of others to assure compliance with industry standards and scientific research services; building and maintaining
websites; inspection of foodstuffs for quality control purposes; quality control relating to the hygiene of food; providing on-line, non-
downloadable software on a global computer network for ordering and delivery of takeaway restaurant and restaurant meals and for other
goods; computer website design; development and design of computer software mobile applications; creating and maintaining websites
for mobile phones; development of application software for delivery of multimedia content; authentication services, namely,
authentication of data in the nature of digital certificates via telecommunications means; computer {specify, e.g., system} design and
programming services; design of internet pages; food research; information technology consulting services relating to the application of
computer systems; programming of computer software for provision of geographical information for others; software as a service (saas)
services, namely, hosting software for use by others for use in database management; product research and development; application
service provider, namely, hosting of computer software for wireless communication for others and hosting websites on the internet for
performing various transactions; hosting of e-commerce website platforms on the internet; application service provider (asp) services,
namely, hosting computer software for order management, order tracking and order delivery systems and for operating electronic point of
sale systems of others; application service provider (asp) services, namely, hosting computer software for others featuring technology
that allows users to perform electronic business transactions via a global computer network; hosting internet website platforms for others
for performing e-commerce transactions; provision of temporary use of online non-downloadable software tools and software platforms
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       to facilitate electronic business transactions via a global computer network and to allow users to receive, process, and manage purchase
       orders online; providing temporary use online of non-downloadable software to facilitate the processing, tracking and delivery of
       customer purchase orders; providing temporary use online of non-downloadable software to facilitate communication between customer,
       seller and delivery vehicle; consultancy services related to electronic point of sale (epos) systems, namely, computer hardware and
       computer software systems for providing telephonic and on-line support to customers; consultancy services related to the setting up and
       operation of websites and internet portals providing temporary access to online non-downloadable software to facilitate the processing,
       tracking, and delivery of customer purchase orders; website security services, namely, restricting unauthorized access to websites for the
       protection of personal and financial data; advisory services relating to computer security; leasing of computer hardware and computer
       peripheral equipment for use in electronic point of sale (epos) transactions; technical data analysis services, namely, data automation and
       collection service using proprietary software to analyze service data

       International Class 43: Services for providing food and drink; restaurant services; bar services; catering services; canteen services;
       provision of temporary accommodation; fast food restaurants; takeaway food and drink services, namely, providing food and drink via
       bicycle, motor vehicles; providing reviews of restaurants and bars; making reservation and booking services for restaurants and meals;
       provision of restaurant and bar information relating to food and drink online and by telephone; operation of a website {specify services
       in international Class 43, e.g., providing a website featuring menu ordering information in the field of} for the ordering of takeaway
       restaurant and restaurant meals; provision of information relating to food and drink online; serving food and drink; preparation of food
       and drink; consulting services related to corporate hospitality services relating to food and drink; providing food and drink via mobile
       transportation, mobile vans, mobile trucks, mobile vehicles; information, advisory and consultancy services relating to the aforesaid

Applicant may amend the identification to clarify or limit the goods and/or services, but not to broaden or expand the goods and/or services
beyond those in the original application or as acceptably amended. See 37 C.F.R. §2.71(a); TMEP §1402.06. Generally, any deleted goods
and/or services may not later be reinserted. See TMEP §1402.07(e). Additionally, for applications filed under Trademark Act Section 66(a), the
scope of the identification for purposes of permissible amendments is limited by the international class assigned by the International Bureau of
the World Intellectual Property Organization (International Bureau); and the classification of goods and/or services may not be changed from that
assigned by the International Bureau. 37 C.F.R. §2.85(d); TMEP §§1401.03(d), 1904.02(b). Further, in a multiple-class Section 66(a)
application, classes may not be added or goods and/or services transferred from one existing class to another. 37 C.F.R. §2.85(d); TMEP
§1401.03(d).

For assistance with identifying and classifying goods and services in trademark applications, please see the USPTO’s online searchable U.S.
Acceptable Identification of Goods and Services Manual. See TMEP §1402.04.


MARK DESCRIPTION REQUIREMENT

Applicant must submit a description of the mark, because one was not included in the application. 37 C.F.R. §2.37; see TMEP §§808.01,
808.02. Applications for marks not in standard characters must include an accurate and concise description of the entire mark that identifies all
the literal and design elements. See 37 C.F.R. §2.37; TMEP §§808.01, 808.02, 808.03(b). In this case, the drawing of the mark is not in standard
characters.

The following description is suggested, if accurate: The mark consists of a fork and a knife within the inside of a shaded house design.


EMAIL ADDRESS REQUIREMENT

Email address required. Applicant must provide applicant’s email address, which is a requirement for a complete application. See 37 C.F.R.
§2.32(a)(2); Mandatory Electronic Filing & Specimen Requirements, Examination Guide 1-20, at III.A. (Rev. Feb. 2020). Applicant’s email
address cannot be identical to the listed primary correspondence email address of any attorney retained to represent applicant in this application.
See Examination Guide 1-20, at III.A.

U.S. COUNSEL REQUIREMENT

Applicant must be represented by a U.S.-licensed attorney to respond to or appeal the provisional refusal. An applicant whose domicile is
located outside of the United States or its territories is foreign-domiciled and must be represented by an attorney who is an active member in
good standing of the bar of the highest court of a U.S. state or territory. 37 C.F.R. §§2.11(a), 11.14; Requirement of U.S.-Licensed Attorney for
Foreign-Domiciled Trademark Applicants & Registrants, Examination Guide 4-19, at I.A. (Rev. Sept. 2019). An individual applicant’s domicile
is the place a person resides and intends to be the person’s principal home. 37 C.F.R. §2.2(o); Examination Guide 4-19, at I.A. A juristic
entity’s domicile is the principal place of business; i.e., headquarters, where a juristic entity applicant’s senior executives or officers ordinarily
direct and control the entity’s activities. 37 C.F.R. §2.2(o); Examination Guide 4-19, at I.A. Because applicant is foreign-domiciled, applicant
must appoint such a U.S.-licensed attorney qualified to practice under 37 C.F.R. §11.14 as its representative before the application may proceed
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to registration. 37 C.F.R. §2.11(a). See Hiring a U.S.-licensed trademark attorney at https://www.uspto.gov/trademarks-getting-started/why-
hire-private-trademark-attorney for more information.

Only a U.S.-licensed attorney can take action on an application on behalf of a foreign-domiciled applicant. 37 C.F.R. §2.11(a). Accordingly, the
USPTO will not communicate further with applicant about the application beyond this Office action or permit applicant to make future
submissions in this application.

To appoint or designate a U.S.-licensed attorney. To appoint an attorney, applicant should submit a completed Trademark Electronic
Application System (TEAS) Change Address or Representation form at https://teas.uspto.gov/wna/ccr/car. The newly-appointed attorney must
submit a TEAS Response to Examining Attorney Office Action form at https://teas.uspto.gov/office/roa/ indicating that an appointment of
attorney has been made and address all other refusals or requirements in this action, if any. Alternatively, if applicant retains an attorney before
filing the response, the attorney can respond to this Office action by using the appropriate TEAS response form and provide his or her attorney
information in the form and sign it as applicant’s attorney. See 37 C.F.R. §2.17(b)(1)(ii).


RESPONSE GUIDELINES

Response guidelines. For this application to proceed, applicant must explicitly address each refusal and/or requirement in this Office action. For
a refusal, applicant may provide written arguments and evidence against the refusal, and may have other response options if specified above. For
a requirement, applicant should set forth the changes or statements. Please see “ Responding to Office Actions” and the informational video
“Response to Office Action ” for more information and tips on responding.

How to respond. Click to file a response to this nonfinal Office action.


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RESPONSE GUIDANCE
      Missing the response deadline to this letter will cause the application to abandon. A response or notice of appeal must be received by
      the USPTO before midnight Eastern Time of the last day of the response period. TEAS and ESTTA maintenance or unforeseen
      circumstances could affect an applicant’s ability to timely respond.


      Responses signed by an unauthorized party are not accepted and can cause the application to abandon. If applicant does not have an
      attorney, the response must be signed by the individual applicant, all joint applicants, or someone with legal authority to bind a juristic
      applicant. If applicant has an attorney, the response must be signed by the attorney.


      If needed, find contact information for the supervisor of the office or unit listed in the signature block.
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Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 113 of 200 PageID #:1152
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 114 of 200 PageID #:1153
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 115 of 200 PageID #:1154
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 116 of 200 PageID #:1155
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 117 of 200 PageID #:1156
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 118 of 200 PageID #:1157
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 119 of 200 PageID #:1158
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 120 of 200 PageID #:1159
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 121 of 200 PageID #:1160
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 122 of 200 PageID #:1161
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 123 of 200 PageID #:1162
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 124 of 200 PageID #:1163
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 125 of 200 PageID #:1164
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 126 of 200 PageID #:1165
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 127 of 200 PageID #:1166
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 128 of 200 PageID #:1167
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 129 of 200 PageID #:1168
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 130 of 200 PageID #:1169




                    Exhibit MP12
       Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 131 of 200 PageID #:1170


                    NOTIFICATION OF DEATH OF INTERNATIONAL REGISTRATION

                                      SERIAL NUMBER: 79299249



                               The table below presents the data as entered.

                 Input Field                                            Entered
INTERNATIONAL REGISTRATION NUMBER         1563598
OFFICE REFERENCE                          79299249
DATE OF RECORDAL IN THE INTERNATIONAL
                                          08/09/2021
REGISTER
IB DOCUMENT ID                            1487345301
EXPIRATION DATE                           07/27/2021
REASON FOR DEATH                          RNN - Renunciation
             Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 132 of 200 PageID #:1171



                       UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                         Commissioner for Trademarks
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                                                                                                                                                          Alexandria, VA 22313-1451
                                                                                                                                                                       www.uspto.gov

                                                                                 Aug 29, 2021

                                                                  NOTICE OF ABANDONMENT

           STOBBS                                                                                                                                     Docket/Reference
           Building 1000,; Cambridge Research Park                                                                                                       Number:
           Cambridge CB25 9PD
           UNITED KINGDOM



U.S. Serial Number:                          79299249
International Reg. No.:                      1563598
Mark:                                        Miscellaneous Design
Holder:                                      Takeaway.com Central Core B.V.



THE ABOVE IDENTIFIED U.S. TRADEMARK APPLICATION WAS ABANDONED IN FULL ON Aug 9, 2021 FOR THE FOLLOWING REASON:

     The USPTO received notification of the cancellation of the international registration or renunciation of the extension of protection to the United States from the
     International Bureau (IB) of the World Intellectual Property Organization with respect to all of the goods and services listed in the international registration. The Director
     hereby abandons the corresponding request for extension of protection. 15 U.S.C. §1141j(a); 37 C.F.R. §7.30.

 *   If the international registration was canceled at the request of the Office of origin, the holder may be eligible to request transformation into a U.S. application under 15
     U.S.C. §1141j(c) within three (3) months of the date of the cancellation of the international registration. See 37 C.F.R. §7.31 for further requirements. Transformation is
     not available where the international registration has been canceled at the request of the holder.

 *   Please note that the application is NOT eligible for revival pursuant to 37 C.F.R. §2.66.

 *   If you believe this application was abandoned due to USPTO error, please file a request for reinstatement using the USPTO electronic form accessible at
     https://www.uspto.gov/trademarks-application-process/filing-online/petition-forms (select form 7).

 *   If you believe this application was abandoned due to IB error, please contact the IB at intreg.mail@wipo.int.

 *   For further information about this notice, contact the Trademark Assistance Center at 1-800-786-9199 or TrademarkAssistanceCenter@uspto.gov.

To check the status of an application, go to https://tsdr.uspto.gov/, enter the U.S. application serial number and select the button labeled "Status." or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of any application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to https://tsdr.uspto.gov/, enter the U.S. application serial number and select the button labeled
"Documents."
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 133 of 200 PageID #:1172




                     Exhibit MP13
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 134 of 200 PageID #:1173
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 135 of 200 PageID #:1174
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 136 of 200 PageID #:1175
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 137 of 200 PageID #:1176




                    Exhibit MP14
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 138 of 200 PageID #:1177
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 139 of 200 PageID #:1178




                     Exhibit MP15
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 140 of 200 PageID #:1179
                                                                 Chef | Facebook

                                                                                                         1




                                   Home Chef
                                   @realhomechef ·   ﻿3.5 (2,968 reviews) · Food Delivery Service


                              Sign Up
                            homechef.com


      Home           Shop         Reviews   More                      Liked           Message




         About                                                                                        See All


               Fresh, perfectly portioned ingredients and easy-to-follow recipes delivered straight to your
               door

               Every day, you're out there making things happen. That's why our CEO, Pat Vihtelic,
               created Home Chef: to provide everything you need to bring more de… See more

               501,553 people like this including 7 of your friends



               507,461 people follow this

               https://www.homechef.com/

               (872) 225-2433

               Typically replies within a day
                 S dM
https://www.facebook.com/realhomechef/                                                                          1/6
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 141 of 200 PageID #:1180
                                                                 Chef | Facebook
               Send Message                                                                            1



               support@homechef.com
               Price Range · $

               Food Delivery Service




         Photos                                                                                  See All




         Videos                                                                                  See All




                                                                                                0:09


         Happy delivery day! 🎉📦 What's in your Home Chef box this week? Share your p…
                  22
         1.8K Views · 30 weeks ago

https://www.facebook.com/realhomechef/                                                                     2/6
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 142 of 200 PageID #:1181
                                                                 Chef | Facebook

                                                                                                        1



         Shop                                                                                        See All




         Home Chef Oven Ready Meal Kit … Home Chef Oven Ready Meal Kit … Home Chef Meal Kit - Two Meals …
         $53.94                            $107.88                          $35.96




         Home Chef Oven Ready Meal Kit … Home Chef Oven Ready Meal Kit … Home Chef Oven Ready Meal Kit …
         $71.92                            $107.88                          $215.76




         Home Chef Meal Kit - Two Meals … Home Chef Meal Kit - Five Meals … Home Chef Meal Kit - Three Meal…
         $107.88                           $89.90                           $53.94



         Jobs                                                                                        See All
         Apply for an open position at Home Chef.

                   Production Supervisor - 2nd Shift
                   Full-time                                                                   See listing
https://www.facebook.com/realhomechef/                                                                         3/6
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 143 of 200 PageID #:1182
                                                                 Chef | Facebook

                   1w · Chicago                                                                          1

                   Production Supervisor - 3rd Shift
                   Full-time                                                                   See listing
                   1w · Chicago

                   Senior Recruiter
                   Full-time                                                                   See listing
                   1w · Chicago




               Page Transparency                                                                      See All

         Facebook is showing information to help you better understand the purpose of a Page. See
         actions taken by the people who manage and post content.

                   RELISH LABS LLC is responsible for this Page.


                   Page manager locations: United States, Canada




         Add Your Business to Facebook
         Showcase your work, create ads and connect with customers or supporters.

                                                          Create Page


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                                                              Create Post


                         Photo/Video                           Check in                 Tag Friends



                   Home Chef
                   October 28 at 8:00 PM ·

         #Pancakes for dinner?!     You bet! The side's the star in this comforting homestyle dish. Savory
         corncakes get drizzled with blueberry BBQ sauce alongside crispy onion chicken and snappy
         green beans. This is one comforting meal that'll have your family asking for pancakes for dinner
         on the reg. Get the recipe here : http://learn.homechef.com/3di




https://www.facebook.com/realhomechef/                                                                          4/6
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 144 of 200 PageID #:1183
                                                                 Chef | Facebook

                                                                                                    1




                  23                                                               10 Comments 1 Share

                              Like                     Comment                          Share


                                                                                       Most Relevant﻿

                   Write a comment…

                   Holly Archbold Gentry
                   This was pretty fabulous!
                                           1
                   Like · Reply · 1d

         View 8 more comments




https://www.facebook.com/realhomechef/                                                                   5/6
11/1/21, 3:40Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:  11/03/21
                                                        (1) Home         Page 145 of 200 PageID #:1184
                                                                 Chef | Facebook

                                                                                                    1




https://www.facebook.com/realhomechef/                                                                   6/6
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 146 of 200 PageID #:1185




                     Exhibit MP16
11/1/21, 3:48Case:
             PM      1:21-cv-05312 Document Home
                                            #: 18-8
                                                 Chef Filed:  11/03/21
                                                      (@realhomechef)       Pagephotos
                                                                      • Instagram 147and
                                                                                       of videos
                                                                                          200 PageID #:1186
                                                                                                   1
                                                   Search      Search




                                      realhomechef                            Follow


                                      2,525 posts           218k followers             3,769 following

                                          Home Chef
                                          Meals Anyone Can Cook + Everyone Will 💚
                                          Use SOC60 for $20 off your first 📦📦📦
                                          📷 #realhomechef
                                          For recipes & more, click below👇
                                          like2buy.curalate.com/realhomechef

                                          Followed by xojalonda, ivorybarn, mariashriver +1 more




                POSTS                              REELS                          VIDEOS                 TAGGED




https://www.instagram.com/realhomechef/                                                                           1/3
11/1/21, 3:48Case:
             PM      1:21-cv-05312 Document Home
                                            #: 18-8
                                                 Chef Filed:  11/03/21
                                                      (@realhomechef)       Pagephotos
                                                                      • Instagram 148and
                                                                                       of videos
                                                                                          200 PageID #:1187
                                                                                      1
                                             Search   Search




https://www.instagram.com/realhomechef/                                                                       2/3
11/1/21, 3:48Case:
             PM      1:21-cv-05312 Document Home
                                            #: 18-8
                                                 Chef Filed:  11/03/21
                                                      (@realhomechef)       Pagephotos
                                                                      • Instagram 149and
                                                                                       of videos
                                                                                          200 PageID #:1188
                                                                                                         1
                                                   Search         Search




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                                                  English        © 2021 Instagram from Meta




https://www.instagram.com/realhomechef/                                                                                                   3/3
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 150 of 200 PageID #:1189




                     Exhibit MP17
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 151 of 200 PageID #:1190
                                                                   | Facebook




                                    Grubhub
                                    @grubhub · Food & Beverage Company


                       Shop on Website
                             grubhub.com


      Home            About         Photos   More                  Like           Message



         Ask Grubhub

         "Can you tell me more about your business?"                                              Ask

         "Can someone assist me?"                                                                 Ask

         "Can I see what's new?"                                                                  Ask

         "What kinds of food do you specialize in?"                                               Ask

            Type a question                                                                       Ask




         About                                                                                   See All


https://www.facebook.com/grubhub/                                                                          1/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 152 of 200 PageID #:1191
                                                                   | Facebook

               Order food you love, online or with the app.

               1,324,082 people like this including 8 of your friends



               1,313,732 people follow this

               http://grubhub.com/

               (877) 585-7878

               Typically replies within a few hours
               Send Message

               social@grubhub.com

               Food & Beverage Company




         Photos                                                                                  See All




         Videos                                                                                  See All




https://www.facebook.com/grubhub/                                                                          2/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 153 of 200 PageID #:1192
                                                                   | Facebook




                                                                                                      0:15


         No more gatekeeping, New York. We’re letting you in on the best delivery in the c…
                      18
         2.7K Views · 6 days ago




               Page Transparency                                                                       See All

         Facebook is showing information to help you better understand the purpose of a Page. See
         actions taken by the people who manage and post content.

                   GRUBHUB.COM is responsible for this Page.


                   Page manager locations include: United States, India, Belarus




         Add Your Business to Facebook
         Showcase your work, create ads and connect with customers or supporters.

                                                          Create Page


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                                                              Create Post


                           Photo/Video                         Check in                 Tag Friends



                   Grubhub
                   October 28 at 12:00 PM ·

         We’re officially turning up the heat on the delivery game.
         Grubhub+ has the hottest offers. Unlimited free delivery, anyone?
         Sign up today: https://grhb.me/GHPLUS… See more




https://www.facebook.com/grubhub/                                                                                3/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 154 of 200 PageID #:1193
                                                                   | Facebook




                  38                                                                  17 Comments 1 Share

                              Like                       Comment                            Share


                                                                                           Most Relevant﻿

                   Write a comment…

                   Mallory Anderson
                   Maybe if every single one of your drivers wasn't terribly lazy and didn't read any
                   delivery directions, AND I have to to tip them ahead of time, waste of my time and
                   money.
                                                                                                        1
                   Like · Reply · 3d

                       2 Replies

         View 6 more comments


                   Grubhub is at Posh Pop Bakeshop.
                   October 26 at 5:00 PM ·

         It's #NationalPumpkinDay and we're celebrating with this slice of pumpkin s'mores cheesecake
https://www.facebook.com/grubhub/                                                                           4/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 155 of 200 PageID #:1194
                                                                   | Facebook
         It s #NationalPumpkinDay, and we re celebrating with this slice of pumpkin s mores cheesecake.
         HBU?
             Posh Pop Bakeshop




                  160                                                            30 Comments 39 Shares

                              Like                      Comment                         Share

                                                                                        Most Relevant﻿

                   Write a comment…

                   Bev Gilmore
                   Looks delicious
                   Like · Reply · 3d

                             Author

https://www.facebook.com/grubhub/                                                                         5/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 156 of 200 PageID #:1195
                                                                   | Facebook
                            Grubhub
                            We love to hear this Bev

                            Like · Reply · 3d

         View 12 more comments

                   Grubhub
                   October 25 at 5:00 PM ·

         No more gatekeeping, New York. We’re letting you in on the best delivery in the city.    Thanks,
         Alex Moffat.
         Sign up for free today: https://grhb.me/GHPLUS




              0:00 / 0:15


                      18                                                              7 Comments 1 Share

                               Like                     Comment                           Share
https://www.facebook.com/grubhub/                                                                           6/7
11/1/21, 3:11 Case:
              PM      1:21-cv-05312 Document #: 18-8 Filed:Grubhub
                                                            11/03/21     Page 157 of 200 PageID #:1196
                                                                   | Facebook


                                                                                        Most Relevant﻿

                   Write a comment…


                   Taylor Green
                   Now Grubhub is the new postmates, spend moneys on adds and don't pay drivers.
                   You have to drive 20 minutes to pick up a $5 order and drive another 20 to 30
                   minutes for delivery. Grubhub the worse app ever but last year, it was so good.
                   Like · Reply · 4d

                       1 Reply

         View 2 more comments




https://www.facebook.com/grubhub/                                                                        7/7
11/1/21, 3:14Case:
             PM      1:21-cv-05312 Document #: Grubhub
                                               18-8 Filed:   11/03/21
                                                       (@grubhub)           Page
                                                                  • Instagram photos158  of 200 PageID #:1197
                                                                                     and videos


                                                                                             1
                                                Search     Search




                                     grubhub                  Follow


                                     1,666 posts         124k followers        595 following

                                       Grubhub
                                       Your food delivery just got better🍕
                                       Get your food delivered on-time + lowest prices or we'll make it right- that's the
                                       Grubhub Guarantee. Terms apply.
                                       likeshop.me/grubhub




                POSTS                          REELS                        VIDEOS                          TAGGED




https://www.instagram.com/grubhub/                                                                                          1/3
11/1/21, 3:14Case:
             PM      1:21-cv-05312 Document #: Grubhub
                                               18-8 Filed:   11/03/21
                                                       (@grubhub)           Page
                                                                  • Instagram photos159  of 200 PageID #:1198
                                                                                     and videos


                                                                                       1
                                             Search    Search




https://www.instagram.com/grubhub/                                                                              2/3
11/1/21, 3:14Case:
             PM      1:21-cv-05312 Document #: Grubhub
                                               18-8 Filed:   11/03/21
                                                       (@grubhub)           Page
                                                                  • Instagram photos160  of 200 PageID #:1199
                                                                                     and videos


                                                                                                          1
                                                    Search         Search




          Meta     About    Blog     Jobs   Help   API       Privacy   Terms   Top Accounts    Hashtags       Locations   Instagram Lite

                                                   English        © 2021 Instagram from Meta




https://www.instagram.com/grubhub/                                                                                                         3/3
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 161 of 200 PageID #:1200




https://twitter.com/grubhub
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 162 of 200 PageID #:1201
11/1/21, 3:22Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:Seamless
                                                           11/03/21     Page 163 of 200 PageID #:1202
                                                                   | Facebook




                                     Seamless
                                     @seamless · Food & Beverage Company


                             Use App
                             seamless.com


      Home           About           Photos   More                Like           Message




         Ask Seamless

         "Can you tell me more about your business?"                                             Ask

         "Can someone assist me?"                                                                Ask

         "Can I see what's new?"                                                                 Ask

         "What kinds of food do you specialize in?"                                              Ask

            Type a question                                                                      Ask




         About                                                                                  See All


https://www.facebook.com/seamless/                                                                        1/5
11/1/21, 3:22Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:Seamless
                                                           11/03/21     Page 164 of 200 PageID #:1203
                                                                   | Facebook

               Seamless is the fastest, easiest, and smartest way to order food online and on the go.

               477,132 people like this including 4 of your friends



               467,835 people follow this

               http://www.seamless.com/

               Typically replies within a day
               Send Message

               Food & Beverage Company




         Photos                                                                                         See All




         Videos                                                                                         See All




https://www.facebook.com/seamless/                                                                                2/5
11/1/21, 3:22Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:Seamless
                                                           11/03/21     Page 165 of 200 PageID #:1204
                                                                   | Facebook


                                                                                                      0:55


         Once you know how soup dumplings are made, you’ll need to know how to eat ‘e…
                  2.6K
         215.4K Views · 5 years ago




               Page Transparency                                                                       See All

         Facebook is showing information to help you better understand the purpose of a Page. See
         actions taken by the people who manage and post content.

                   GRUBHUB.COM is responsible for this Page.


                   Page manager locations include: United States, India, Canada




         Add Your Business to Facebook
         Showcase your work, create ads and connect with customers or supporters.

                                                          Create Page


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                                                              Create Post

                         Photo/Video                           Check in                 Tag Friends



                  Seamless
                  October 22 at 5:00 PM ·

         Smashed NYC is taking on New York, one double stacked cheeseburger at a time.
             @jeaneatz on IG




https://www.facebook.com/seamless/                                                                               3/5
11/1/21, 3:22Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:Seamless
                                                           11/03/21     Page 166 of 200 PageID #:1205
                                                                   | Facebook




                  38                                                                           2 Shares

                              Like                     Comment                         Share


                   Write a comment…




https://www.facebook.com/seamless/                                                                        4/5
11/1/21, 3:22Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed:Seamless
                                                           11/03/21     Page 167 of 200 PageID #:1206
                                                                   | Facebook




https://www.facebook.com/seamless/                                                                      5/5
11/1/21, 3:24Case:
             PM      1:21-cv-05312 Document #:Seamless
                                               18-8 Filed:  11/03/21
                                                       (@seamless)         Page
                                                                   • Instagram     168
                                                                               photos andof 200 PageID #:1207
                                                                                         videos


                                                                                        1
                                                Search     Search




                                      seamless                 Follow


                                      1,896 posts        31.1k followers     1,405 following

                                        Seamless
                                        #HowNewYorkEats
                                        bit.ly/PoweredByGrubhub




                POSTS                          REELS                       VIDEOS                   TAGGED




https://www.instagram.com/seamless/                                                                             1/3
11/1/21, 3:24Case:
             PM      1:21-cv-05312 Document #:Seamless
                                               18-8 Filed:  11/03/21
                                                       (@seamless)         Page
                                                                   • Instagram     169
                                                                               photos andof 200 PageID #:1208
                                                                                         videos


                                                                                       1
                                             Search    Search




https://www.instagram.com/seamless/                                                                             2/3
11/1/21, 3:24Case:
             PM      1:21-cv-05312 Document #:Seamless
                                               18-8 Filed:  11/03/21
                                                       (@seamless)         Page
                                                                   • Instagram     170
                                                                               photos andof 200 PageID #:1209
                                                                                         videos


                                                                                                           1
                                                     Search         Search




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https://www.instagram.com/seamless/                                                                                                         3/3
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 171 of 200 PageID #:1210




https://twitter.com/seamless
Case: 1:21-cv-05312 Document #: 18-8 Filed: 11/03/21 Page 172 of 200 PageID #:1211




                     Exhibit MP18
11/1/21, 3:54Case:
             PM      1:21-cv-05312 Document #: 18-8 Filed: 11/03/21    Page 173 of 200 PageID #:1212
                                                           - Campus Dining


                                                                                         Campus Dining (http://campusdining.auburn.edu/)
                                                                                                                    Student Affairs
                      (http://www.auburn.edu)




                                                         Grubhub Information
         GRUBHUB TIPS
         To use the Grubhub app to order ahead on Auburn’s Campus, you must make your location AUBURN UNIVERTSITY

         To use Dining Dollars on your Tiger Card as a form of payment on Grubhub, choose the “Declining Balance Tiger CARD”
         option NOT the “Tiger Club” option

         The hours on Grubhub’s app are not always accurate. To find correct and up-to-date hours, you can reference Aramark’s
         Tiger Dining (https://auburn.campusdish.com/LocationsAndMenus) page

         You may place an order in person at CHICK-FIL-A

         To have food delivered use the 844-Eats option in the app. This is the ONLY delivery option available with your Dining
         Dollars.


         HOME CHEF
         To order Home Chef vouchers, click here (https://auburn.campusdish.com/Home-Chef)

         When ordering Home Chef vouchers, make sure your location is designated as AUBURN UNIVERSITY

         The Home Chef option is located under the “Pick-Up” section within the Grubhub app, but you do NOT pick anything up. Your voucher will be emailed to you

         Vouchers are manually accounted for and sent out, so there is a **3-5 day waiting period** before they are sent to the email account listed in your Grubhub se
         your email, try checking spam or junk folders. The email that is used to send the Vouchers is: HomeChef@auburn.edu


         GRUBHUB KIOSKS
         Auburn University is now using kiosks to provide a contactless ordering system with the convenience of picking up your order in person. When using a kiosk,
         fee.

         You can use your Tiger Card or personal Debit/Credit card at these kiosks.

         CHICK-FIL-A has their own check-in kiosk on location for when you order online. Order on your app, then you must check-in at the kiosk to confirm you are n
         food. Once you have checked in, you will be notified when your order is ready.


         FOOD TRUCKS
         All Food Trucks use the Grubhub app

         The hours on Grubhub’s app are not a true reflection of the correct hours for Food Trucks. You may find correct hours, click here: Locations, Hours and Menu
         (https://auburn.campusdish.com/LocationsAndMenus)




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                              » How It Works (http://wp.auburn.edu/campusdining/how-it-works)
                              » Sustainability (http://wp.auburn.edu/campusdining/sustainability)
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                              » dining@auburn.edu (mailto:dining@auburn.edu)
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      Home Chef




   Off-Campus Students: Order Home Chef through GRUBHUB using your Dining Dollars!

   Steps:

     1.   Login to GRUBHUB and Find the Home Chef shop
     2.   Check your GRUBHUB account for the most accurate email address
     3.   Make your purchase using your Dining Dollars
     4.   Wait for your voucher to come to your email
     5.   Use the links provided in the email and add your voucher to your Home Chef account
     6.   Enjoy your meals

   Notes:

           Home Chef takes 3-5 days after purchase to be delivered to your email.
           GRUBHUB pulls the email address you have on file with GRUBHUB. You will find the
           voucher in that email address. Please check your spam and junk folder as well.
           Vouchers are delivered by email on Tuesdays and Thursdays from
           homechef@auburn.com.
           Serving sizes are based on 2 servings and the $120 voucher should provide an estimated
           12 servings (5-8 meals). This varies depending on the proteins selected.
           Vouchers cannot be refunded at any point after GRUBHUB confirms purchase.
           Vouchers for the fall will not be sold after December 1st. Voucher codes do not ever
           expire.
           Please email HomeChef@auburn.edu with any Home Chef issues.




https://auburn.campusdish.com/Home-Chef                                                                    1/1
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10/18/2020, 11:20AM

Home Chef offers students increased dining selection
By COLLINS KEITH | ASSISTANT CAMPUS EDITOR




     IRELAND DODD | PHOTOGRAPHER PHOTOGRAPHER                                 Campus at noon is no longer a hub of activity. Many
  An Auburn University Student eats a bagel from Einstein                     students don’t even go to campus unless a class or
  Bros. Bagels on Feb. 1, 2019, in Auburn, Ala.                               club requires them to, and dining options for
                                                                              students living on campus have been cut down.

With students staying home and many of the campus dining halls closing due to coronavirus fears, Rachael
Forbes, sophomore in pre-nursing, said the remaining food choices on campus can get redundant and boring.
One way she has brought more of a variety into her diet has been by using Home Chef.

“Home Chef is a meal kit service where you can choose your meals on their site, and they will send you the
ingredients pre-measured and easy to follow instructions,” Forbes said. “[The] first time I found out about
Home Chef was on the GrubHub app, and [I] have just started using it this semester.”




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Home Chef started in 2013, and according to their website, they’ve expanded their delivery to cover more
than 97% of the U.S. population, delivering over 10 million meals in the last year. Home Chef’s goal is to save
time and reduce waste, and for Forbes, these traits are what has kept her using it.

“I like using Home Chef because it gives me a fresh, well-rounded plate,” Forbes said. “I get to try new dishes,
and I especially like that the ingredients are pre-portioned so there is no food waste.”




Since Home Chef sends their customers the exact proportions needed for the ingredients in their meals, the
only food waste comes from leftovers. Each meal is fully customizable, and customers can pick their meals
from different categories.

“Home Chef offers meals for pescatarians, vegetarians, and those with food allergies,” Forbes said. “If you
have a preference for a certain type of meat then you can even switch it out for what you prefer.”

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For students, the voucher on GrubHub costs $120, but according to Forbes, the price for these meals is
entirely dependent on the amount of servings and meals that customers purchase. Since she’s an RA living on
campus, Forbes gets her meals from HomeChef delivered straight to her dorm.

“It’s easy to use,” Forbes said. “I just go to their site using the voucher I bought on GrubHub, choose the meals
I want to cook for the next week, enter my address, and it shows up for the day I scheduled it.”

For Forbes, Home Chef has been a way for her to start cooking at home without having to do all of the
shopping and most of the preparation normally associated with it.

“I will continue to use Home Chef and recommend it to my friends who are looking for an easy way to start
cooking and get a balanced meal,” Forbes said.

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By JACOB WATERS | SPORTS WRITER




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Suite 1111 | 'The best for Auburn is yet to come'
By TRICE BROWN | MULTIMEDIA EDITOR and CAROLINE CRAIG | COMMUNITY REPORTER




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            AU Tiger Dining
            September 30, 2020 ·

   Don’t forget you can order Home Chef through GRUBHUB using your Dining Dollars!


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            Joanne Gordon
            Can the voucher only be redeemed at Auburn? Or can it be redeemed while home for the
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